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                          UNITED STATES DISTRICT COURT
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 8                       CENTRAL DISTRICT OF CALIFORNIA
 9   MARGIE SILVA,                           )    No. 2:19-cv-06805 (VEB)
10                                           )
           Plaintiff,                        )    ORDER AWARDING EQUAL
11
                                             )    ACCESS TO JUSTICE ACT
12                v.                         )    ATTORNEYS’ FEES AND
13                                           )    COSTS
     ANDREW SAUL,                            )
14   Commissioner of Social Security,        )
15                                           )
           Defendant.                        )
16
                                             )
17         Based upon the parties’ Stipulation for Award and Payment of Attorney Fees:
18         IT IS ORDERED that the Commissioner shall pay attorneys’ fees and
19   expenses the amount of FOUR THOUSAND FIVE HUNDRED DOLLARS and NO
20   CENTS ($4,500.00), and costs under 28 U.S.C. § 1920 in the amount of ZERO
21   DOLLARS ($0.00), as authorized by 28 U.S.C. §§ 2412(d), 1920, subject to the
22   terms of the above-referenced Stipulation.
23
24         Dated this 19th day of October, 2020
25                                         /s/Victor E. Bianchini
26                                         VICTOR E. BIANCHINI
                                           UNITED STATES MAGISTRATE JUDGE
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